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                          UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS



       John Doe,
        Plaintiff,
                                                  CA No. 23- 11490-PBS
              v.


Massachusetts Institute of Technology,
      Defendant.



SARIS, D.J.


                   ORDER OF ADMINISTRATIVE STAYED/CLOSURE


       It is hereby ORDERED that the above-captioned case is hereby administratively

stayed/closed pending appeal without prejudice to the right of any party to restore it to the

active docket upon appeal concluded.



                                                  By the Court:


                                                  Robert M. Farrell
                                                  Clerk of Court


                                                  /s/ C. Geraldino-Karasek
                                                    Deputy Clerk

Dated: October 4, 2024
